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Megan Mason
419 Greenleaf Avenue DEC 08 2022
Wilmette, Ilinois 60091 CHIEF JUDGE REBECCA. PALLMEVER

UNITED STATES DISTRICT COURT
December 1, 2022

The Honorable Judge Rebecca Pallmeyer

Chief Judge, The Northern District of Illinois
Everett McKinley Dirksen United States Courthouse
Rm. 2548

219 South Dearborn Street

Chicago, IL 60604

RE: Any federal criminal case in which Megan Elizabeth Mason is a witness.
Dear Judge Pallmeyer:

I am a victim of and witness to multiple acts of criminal corruption in The Circuit Court of Cook
County, Illinois. Although I have not been formally contacted or informed of my status as a
federal witness in a case before a judge in your court, I am writing to you because I believe that
I am one. I am writing because I cannot endure the constant surveillance and harassment by law
enforcement officers who I believe have been authorized and assigned to protect me. I also
believe that I have been unfairly denied access to injunctive relief and forced to endure more

crimes by the individuals I first reported to The FBI eighteen months ago.

I sincerely believe that federal investigators are working for the greater good in my case, but they
cannot speak for me. I want the opportunity to advocate for myself. I have prepared an affidavit
here which I would like for you to please share with any judge or judges you know to be
involved in a criminal case in which I am a witness. I want an end to any secret protective

surveillance assigned to me and I want the crimes being committed against me in The Circuit
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Court or any other court to stop, which is to say, I want any actions by federal prosecutors to

force me to endure more crimes to stop.

My theory is that some time between June, 2021, when I made my first of many attempts to
speak to an FBI officer about federal crimes I witnessed and May, 2022 when I first started
noticing I was under constant surveillance, a federal prosecutor and a federal judge asked
someone to protect me and my children. I believe this was for two reasons. I think the The
Department of Justice wanted more time to surveille targets and to build its case but feared that
some harm could come to me or my children in the meantime. I also believe that there is a
potential benefit to prosecutors when I file, on a pro se basis, evidence and pleadings in various
courts of law which are related to their criminal investigation. No matter how amateurish my
pleadings are, they do present more opportunities for corrupt clerks, attorneys, judges and court
employees to commit crimes like obstruction of justice, tampering with evidence, witness
intimidation, etc.. I do have quite a knack for finding people who want to defraud and exploit

me. So I think the surveillance also serves an investigative purpose.

One thing I do know for a fact is that my pleadings under affidavit can be presented to a grand
jury - and probably were - establishing me as a witness without me or anyone else officially
knowing I am one. I think this is why the protective surveillance is secret. I can’t think of a better
way to prevent a defense attorney someday claiming that I engaged in entrapment because I
filed X lawsuit in coordination with federal prosecutors. Clearly nobody could claim that we’re

coordinating.
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But, while I strongly support any federal prosecutor seeking to fight judicial corruption, all
prosecutors have to use available resources. I want to make it clear that I am no longer an
available resource. I have done more than my part. If I am alive in The United States when
federal prosecutors do finally indict the people I have named, I will testify. But if The
Department of Justice wants me to stay alive and stay in America, the oppressive, secret
surveillance and harassment must stop. If the Department of Justice wants me to stay alive, they
need to stop forcing me to be the victim of more crimes by blocking my access to formal and

informal injunctive relief.

I do have some awareness of the rules that allow a federal judge to either stay or prevent a civil
lawsuit in federal court if there is an active criminal suit before the court that deals with the same
matters. This seems just and appropriate to me because it is for the public good. And in my case,
being completely ignorant of federal litigation, it would seem that nothing could be better for me
than to have discovery conducted by someone who has staff and resources to build a criminal

case that might some day open the door for my civil claims.

But what about my right to injunctive relief, which is inherently urgent? That’s the main reason I
came to this court and to the FBI. I never agreed to forestall my civil rights in order to conduct a
sting operation. I never agreed to remain a victim of ongoing crimes. I want six years of abuse

by The Circuit Court of Cook County to stop. I want to have my access to justice restored.

I know that crime victims are never happy with the speed of justice. I know that sometimes

prosecutors want to collect more evidence. But too much has been asked of me already. I have
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nothing left to give. I am not a dramatic person. I am not prone to hyperbole. But I will not

survive another month of this. Please help me if it is in your power to do so.

Sincerely,

Cc

Megan Mason
Witness and Victim
(or a “Profoundly Deluded Woman” - I’m 87.6% sure it’s witness)

Cc:

Ms. Ellen M. FitzGerald

Victims’ Rights Ombudsman

Executive Office for United States Attorneys
Department of Justice

RFK Main Justice Building

950 Pennsylvania Ave., N.W.

Room 2261

Washington, DC 20530-0001

CC:

Mr. John Lausch

United States Attorney
Eastern Division (Chicago)
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Chicago, IL 60604

CC:

Mr. John Morales
Special Agent In Charge
FBI Field Office

2111 W. Roosevelt Road
Chicago, IL 60608
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Megan Mason’s November 30, 2022 Affidavit Opposing Protective El laarrihty O
Surveillance by Law Enforcement Officers of The United States o Spt

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My name is Megan Elizabeth Mason. I was born May 2, 1977 and I reside at 419 creenleat See er
Wilmette, Illinois. I am writing this affidavit today as part of an effort to stop harassment and interference”
in my life by individuals I believe to be employed as law enforcement officers of The United States of
America. I have formed some understanding of why this is happening. I am a publicly identified witness
to serious criminal acts of corruption by sitting judges, court employees, court clerks and court appointees
in Cook County, Ilinois. I believe that for at least the last six months I have been under protective
surveillance to make sure that I remain alive to testify against somebody, some place, at some time in the
future.

Having said that, I don’t know how this is happening, specifically what law, agency or custom enables a
forty five year old woman who is not suspected of any crime to be under constant, oppressive electronic
and physical surveillance without informing her or obtaining her consent. So it’s difficult for me to know
who I should ask to stop this. I do not know, but I do believe that someone in The Department of Justice
had to approve an enormous expenditure, just based on the low-flying surveillance planes always above
me. I don’t know who authorized this, but this affidavit is for that person. I also believe there has to be
some judge who authorized officers to follow me constantly, to monitor my phone, to use listening
devices, and to incorporate other forms of electronic surveillance to track and anticipate where I will go.
This affidavit is for that judge.

I want to make clear that, unless someone gives me a good reason to endure this, I do not want to be
under constant surveillance, particularly to have unidentified officers within 100 feet of me while I shop
or go about my day. I do not want federal officers impeding the road or sidewalk ahead of me. I do not
want to have unidentified officers smiling at me, making eye contact with me, speaking to me or engaging
with me without disclosing their job title, role and purpose in tracking me. I do not want to have
unidentified officers walking strange dogs in my neighborhood or training service dogs to mark, follow or

engage with me. I do not want to have employees of the United States of America listening to me,
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watching me online or photographing me while I go about my private business. And I certainly do not
want federal agents to continue to employ local police officers to detain, threaten or interrogate me about
my non-criminal interactions with employees of the US Marshal Service or other federal law
enforcement agencies who are harassing me.

I do not want this oppressive surveillance. At no point have I consented to this oppressive surveillance.
If this is to keep me alive, I would rather die. It is unbearable.

I want to make clear that I am aware of no mental health assessment that was conducted to determine if I
could tolerate constant surveillance for an undetermined time period. I cannot. This ongoing surveillance
and harassment is profoundly damaging to my mental health and I am thoroughly unsuited for this. I have
been in treatment for post traumatic stress disorder for several years. I have also participated in the twelve
step program Codependents Anonymous or CODA for several years which is focused on repairing
patterns of dysfunctional relationships formed as a result of chronic and acute trauma. All avenues I
previously had for recovery and support have been damaged if not lost due to the unrelenting harassment
by federal law enforcement agents.

The constant surveillance I am under has created two profoundly damaging effects on my mental health
care. First, this oppressive surveillance exacerbates the core issues and symptoms of PTSD and
codependency which I have worked for years to overcome. Secondly, this surveillance regime has cut me
off from access to support and care for these issues. I long ago let go of any expectation that my civil
rights would be protected by those surveilling me in the same way they would be were L say, a drug
dealer or a terrorist. However I still hope that someone with the power to intervene will read this and
have compassion. This is hurting me. This is killing me. Or, rather, this surveillance regime has killed
everything good in my life.

I cannot go to the grocery store and shop without being surrounded by people blocking store shelves,
blocking my path, watching me and photographing me. Invariably I return home with half my list
missing, sometimes I have to abandon my cart completely. I cannot go to bars, restaurants, cafes, the

library, to parks or to any public place without being surrounded by unwelcome people surveilling me and
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engaging me in conversation where they invariably lie to me about who they are. I am afraid to leave my
house because of the pain I know I will experience due to the unrelenting surveillance.

From the outside, I would imagine that I seem like someone who could do quite well in isolation, the
most significant impact of the oppressive surveillance I’m under. I am strong, independent and
introverted. But I need you to understand that just as an alcoholic might be useful if you need someone to
drink a bottle of wine, it doesn’t mean that’s good for the alcoholic. Isolation is not good for me. I have
been in treatment for several years to treat symptoms related to PTSD from childhood and adult trauma
and the surveillance has intensified my symptoms and set back my recovery.

As a result of PTSD, I have worked for years to overcome patterns of dissociation or numbing in
response to highly stressful situations. I am now experiencing symptoms I never had before. I never
experienced panic attacks prior to this surveillance, now I have experienced debilitating anxiety attacks
multiple times. These attacks render me incapable of driving, staying in a crowded train or even
completing a purchase at Walgreens. I have engaged in therapy at various times for the last twenty years,
consistently for the last year. At no point prior to this surveillance did I struggle with or report suicidal
ideation. I recently reported to my therapist that I was thinking of suicide not because I want to die but
because it is the only way to fix my problems.

The stress of unrelenting surveillance has increasingly led me to fall into an extreme dissociation or
fugue state. I can only recall two occasions when this happened to me prior to becoming aware of the
constant surveillance in May, 2022 One time I was overcome with emotion in an extremely intense
therapy session and passed out, another time I thought a man I was dating was about to rape and murder
me and I fainted. Since being constantly followed, photographed and impeded by officers in other cars, on
street corners and in aircraft, I now regularly experience intense waves of numbness and fatigue that are
so debilitating I cannot drive my car. I have to pull over because I am fearful that I will drive my car into
a wall or tree.

Another result of early childhood trauma, particularly because I was the smallest person in a family of

bigger, violent people, is that I learned from birth not to trust people and to always make people happy as
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a strategy to protect myself. This means I didn’t learn to have boundaries. This is what Codependents
Anonymous is almost always focused on - learning to have and respect the boundaries necessary to have
healthy relationships. It is really hard. Like any other type of addiction, I need to have rules, habits and
external cues to keep me healthy. It’s easy to turn away from addiction when you are strong, in a good
place. But those of us who struggle with patterns like codependency and addiction need to have structures
and rules to deal with during the dark times.

The basis for my federal testimony, the judicial corruption I’m experiencing in The Circuit Court of
Cook County, has created relentless stress in my life. I’ve lost my children and I cannot see them. I am
about to lose my job, probably my home. I’ve lost all status and respect in my community, in my church
and in my career. I don’t have anyone in my life I can talk to who believes everything I say. Some people
believe a lot of what I say but, as for the rest of what I say -which is to say every bonkers thing I’m
writing here - they think I’m psychotic. I mean that literally. There was never the slightest suggestion of
psychosis in the forty four years I lived before this surveillance. I have no hope, nothing I can save money
for and no belief that I will ever again be in a position to save money. I have no reason to think the future
will be different or that I can do anything to impact the future. I think this qualifies as a dark time for me.

It is not simply that the oppressive harassment and surveillance by federal officers isolates me but these
officers use exactly the same tactics that abusers use. They lie. Of course this makes sense when someone
is attempting to build a case against a criminal target. I’m not a criminal target. Of course this makes
sense if it is important to protect someone who has voluntarily entered into federal witness protection. I
have not, nor have I been presented the opportunity to do so voluntarily.

As part of my recovery, it is not just important to be truthful, it is the foundation of my recovery to turn
away from patterns where we have given our power to those who have abused us. This pattern always
involves self-deception, allowing others to gaslight us. I cannot be expected to spend day after day
listening to federal agents lie to my friends and neighbors, pretending to be other than who they actually

are. If I go along with whatever the officer is pretending, I feel like I’m lying to myself or others. But at
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the same time, while I know that every time I’m outside my home there are at least an extra three people
(that I can see), I can never be certain. This is crazy making.

I genuinely don’t know if these federal agents are trying to keep their cover, to build emotional intimacy
with me in order to get information or if they somehow think that manipulating me makes me more
comfortable with them. But they relentlessly violate my boundaries. They mirror me, sending an agent
with my hair color and style of dress to my yoga class to talk loudly about an actress I liked on Instagram
the night before. I stopped going to yoga. They seek out my friends at the dog park so that I am forced to
interact with them if am to talk to my friends. I stopped going to the dog park. Like a classic narcissist,
they love bomb, coming on far too strong like when the dog walker arrived at my door and, having never
spoken to me or my dog, informed me that she just happened to live around the corner and just happened
to be available every day, every time I want a dog walk for a very low price.

Every direct contact, or even chance eye contact, with a federal agent is extremely painful to me as long
as they are lying to me and deceiving me. Whatever you call the warrant or the power that lets airplanes,
cars and people surround me everywhere, it is stalking and harassment from my experience. Every time I
leave my house it hurts.

But what can I do about this pain? That leads me to the second problem of constant surveillance. There
is nobody to help me deal with this. I started to discuss some of these issues I face in coping with
surveillance with my therapist. She doesn’t believe me. She thought I was having intense delusions and I
had to beg her not to include any concerns about psychosis in her notes because I feared it could impact
my fight for parental rights.

It’s hard not to worry about psychosis myself. It is some comfort that, according to Dr. Google,
psychotic people don’t usually think they’re psychotic. I don’t smell strange smells, see auras. And I don’t
see things that aren’t there. But at the same time if I read what I’ve written above, without my lived
experience, I would assume the writer is a grandiose, deluded liar. I only know what I’m writing is true

because I see it every day.
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When I first noticed I was being surveilled it was cars in the wrong place, with the wrong stickers, with
lots of parking tickets and then suddenly without any parking tickets. This was at a time when I had
escalated my public reports of corrupt acts I’d witnessed by numerous people in the Circuit Court of Cook
County. The cars faced my front and back door and my son’s bus stop, so I thought maybe there were
cameras there to monitor me and my children for our safety. But I didn’t understand why nobody talked to
me about a danger to me and my children if there was money being spent to provide protective
surveillance for us.

I researched the Federal Witness Protection Program and came to the conclusion that obviously US
Marshals wouldn’t monitor me without my consent because I am an adult with full civil rights and I
hadn’t consented. I had a theory that, being minors, my children must have been assigned an attorney
who authorized protective surveillance for them, thereby making it necessary to do lots of surveillance on
me. (Later on, when I lost my children, I thought at least the people stalking me would go away. They
didn’t.)

Then I noticed people in my yoga class who didn’t belong and seemed to want to be next to me or
between me and windows and doors. I could tolerate them when they looked and talked like US Marshals
because I didn’t feel like they were lying to me and, at that time, I thought it couldn’t possibly last longer
than a week, Being a trusting person who, at that time, had faith in federal law enforcement, I figure there
must be some good reason for them to be there. It was as the time dragged on and the agents started
getting more deceptive and manipulative - phones pointed at me while I was sweating in downward dog
were a low point - that the surveillance became intolerable.

Last summer I decided to close myself off to anyone I didn’t know before May 1, 2022. Prior to this
decision I was an open hearted person with a genuine love for people around me. I enjoyed talking to
people I met. I enjoyed helping people. I enjoyed connecting. But it was when I realized that a female
agent, pretending to have intellectual disabilities, preyed on my open heart that I had to shut myself off.
Like most of the early agents, she showed up at the dog beach where I walk my dog. She talked to my

friends there. She gave me a business card for her dog walking service. One day she made a ruse of not
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being able to catch a dog she was “working with”. I immediately jumped in to help her and finally we got
the dog on a leash together. As this woman was leaving the beach I caught her eye and there was
something there, shame, sympathy, I don’t know what. So in my gut I realized she had tricked me. I
connected it to the cars, the men in yoga, the men in the apartment behind me looking in my bathroom
window (ewww/!). I realized that if whoever’s stalking me would go the length of pretending to be
cognitively impaired, knowing I’m the mother of a mentally disabled child, there is nothing in my life that
is safe, private or respected by these people.

At that point I felt betrayed, gutted, violated. But I reasoned that maybe the FBI suspected me of a crime
and was actually investigating me. I could somewhat understand tricking me if an agent sincerely thought
they could discover criminal activity by doing so. Since I haven’t committed federal crimes, I figured any
investigation would end quickly. Ironically, it is now the fact that agents enter my places of worship,
disrupt my transit and impede my access to the important people in my life, that make me certain I’m not
a criminal target. Nobody would treat a criminal as I’m treated because criminals have lawyers, rights,
and a mechanism to enforce their rights. I have none of those things.

In fact, in one of the most confounding and distressing encounters with a federal agent who was
surveilling and stalking me, she enlisted local police officers to detain, threaten and punish me for simply
telling her to leave me alone. On October 14, 2022 two women I believe to be federal agents, who I’ve
never touched, who have never in fact been within ten feet of me, instructed a local police officer to
detain me under an allegation of assault. While refusing to give me the name and address of my “accuser”
or the name and address of the other woman, “a witness”, who walked away before the ticket was issued,
the officer wrote me a ticket that simply stated, “Assault”. I did not touch this woman and have still not
learned her name, real or as presented to the officer, or what action I am alleged to have taken that
someone calls assault.

In the movies, people in the federal witness protection program are often depicted as derelicts, breaking
the law, hatching schemes, while their weary handlers keep them out of trouble. Meanwhile I abide by the

law and am detained, threatened and punished by local police because the federal agents stalking me want
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me to be a good girl. Again, I can’t help but wonder what precautions and rights I would be afforded if I
were an actual criminal. Or even just a man.

Once I determined I was being treated too aggressively to be a criminal target, I figured the Department
of Justice was so concerned about my safety that there must be a real, imminent threat. Why else would
they disregard my basic human rights? Again, I figured it would pass quickly. At the very least, I
reasoned, someone would soon call and explain why my rights needed to be impinged temporarily and
with my consent for my safety or for my children’s safety. In the meantime I would just not talk to people
or trust people I didn’t know before May 1, 2022.

Now I understand this isn’t temporary and I can’t go on like this. It’s been six months since I became
aware of the surveillance. It’s been a year since the judge and GAL I’ve accused of corruption became
aware of my public accusations of corruption. It’s been eighteen months since I first tried to report these
crimes to the FBI. I don’t see an end in sight. I can’t live like this anymore without knowing why or how
it ends.

I can’t live with the certainty that every time I leave my house there will be at least three people trying to
stay within ten feet of me. I can’t live with the certainty that every day at least one person will lie to me
while pretending to be my friend and neighbor. I can’t live with the certainty that every time I walk my
dog there will be five times as many dogs in my path as is statistically normal for the neighborhood I pay
through the nose to live in.

I can’t go on living knowing that I can’t meet a new friend or date someone new without fearing they are
lying to me while being paid to do so by the United States of America. And I can’t go on alone. Please
stop this or give me the chance to consent or withhold consent for whatever it is that’s happening.
Apparently I don’t have an enforceable legal right to know why I’m being stalked, but I think most people
agree I have a moral right to know why some guy on the payroll of the federal government is looking in
my bathroom window and why there are always low flying planes when I go in my yard, especially when

my dog is acting cute.
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I feel compelled to at least try to speak up for myself, to let someone know how much this is hurting me
because I am no longer able to meet my life needs. I can’t work, buy food, socialize, exercise, go to
church or enjoy any public setting due to the unrelenting surveillance. I am paranoid, anxious, and quick
to anger because I feel like I am under constant threat due to the surveillance. Perhaps the most
compelling evidence that I cannot tolerate this surveillance is that I’m writing this insane affidavit. I’m
ashamed, paranoid and fearful of even more public mockery and derision for writing this. But I quite
literally have nothing left to lose at this point so I feel I might as well try.

If what I’ve written reaches someone who has authorized or implemented a protective surveillance
program with Megan Mason as the target, I want to know why, I want to have the right to consent or

withdraw consent. I am fearful that I will harm myself or others if this does not stop.

Respectfully ey) By,
RL “

Megan Mason

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(917) 518.1808

megan42@gmail.com
